                  Case 2:22-cv-00553-LK Document 8 Filed 05/04/22 Page 1 of 6



 1                                                                      The Honorable David W. Christel
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                                   UNITED STATES DISTRICT COURT
 9                                WESTERN DISTRICT OF WASHINGTON
10                                          AT SEATTLE

11   ASC CARKEEK PARK LLC,

12                   Plaintiff,                           NO: 2:22-cv-00553-DWC
13          vs.                                           ASC CARKEEK PARK LLC'S
14                                                        CORPORATE DISCLOSURE
     BP PRODUCTS NORTH AMERICA, INC.,                     STATEMENT
15   EQUILON ENTERPRISES LLC,
16
     JIFFY LUBE INTERNATIONAL, INC.,
17
     SHELL USA, INC., and
18
     SHELL OIL PRODUCTS COMPANY LLC,
19
20
21          Plaintiff ASC Carkeek Park LLC hereby discloses, pursuant to Fed. R. Civ. P. 7.1, LCR
22   7.1(a)(1), and LCR 7.1(b), that it is a limited liability corporation owned by the following entities,
23   with the state where each entity is a citizen listed in parentheses:
24                1. ASC Holdings LLC (WA)
25                2. DeeJayCee Senior Services LLC (WA)
26                3. Enterprise International Inc. (WA)
27                4. Cedar Bluff Trust (WA)
28
      ASC CARKEEK PARK LLC'S CORPORATE                                       Nossaman LLP
      DISCLOSURE STATEMENT - 1                                       719 Second Avenue, Suite 1200
      [2:22-cv-00553-DWC]                                                  Seattle, WA 98104
                                                                       Telephone: (206) 395-7630
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 1          5. Julie L. Patrick Spousal Lifetime Access Trust (WA)
 2          6. Kirtland C. Peterson & Anne M. Murphy (HI)
 3          7. Revocable Trust of John W. Meisenbach (WA)
 4          8. Shane Smith (WA)
 5          9. James A. & Diana L. Olsen (WA)
 6          10. Aaron Hyun-gun Song (WA)
 7          11. DRM Realty LLC (WA)
 8          12. John J. & Katherine A. Harnish (WA)
 9          13. Kyle Ott (WA)
10          14. Zingale-Meyer Family Trust (WA)
11          15. Aaron Richmond (WA)
12          16. Angela Marie Snyder (WA)
13          17. David R. & Elizabeth R. Ford as Tenants by the Entirety (DC)
14          18. Iron Horse Capital LLC (WA)
15          19. Jennifer Harnish (WA)
16          20. Ralph Pascualy Irrevocable Trust (WA)
17          21. Stephen Markowitz (WA)
18          22. Tiryakioglu Family Trust (WA)
19          23. Two Daughters LLC (WA)
20          24. Bialek-Gianini Living Trust (CO)
21          25. Brian Virgil Turner (CA)
22          26. David & Rosalie Holcomb (WA)
23          27. David & Shirley Newell (WA)
24          28. Harsha and Lois Ramlingam (WA)
25          29. Joseph E. Pendergast III (WA)
26          30. Luke R Burtis (WA)
27          31. Michael P. & Esther K. Ochsman (ID)
28
     ASC CARKEEK PARK LLC'S CORPORATE                               Nossaman LLP
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            Case 2:22-cv-00553-LK Document 8 Filed 05/04/22 Page 3 of 6



 1          32. Norene I. Ott Irrevocable Trust (WA)
 2          33. Pearl Lane Investments (CA)
 3          34. William and Caralyn Altman (KY)
 4          35. Cherry Pie Properties (WA)
 5          36. Crosetto Family Trust (WA)
 6          37. David Bocek (WA)
 7          38. Kris Engskov (WA)
 8          39. Brian and Karen McManus (WA)
 9          40. Charles J. Nordstrom (WA)
10          41. Christina N. Koons Living Trust (WA)
11          42. Christopher Blakeslee (WA)
12          43. David and Laura Rinn (WA)
13          44. David & Sarah Hehman 2002 Revocable Trust (CA)
14          45. Derrick Skinner Irrevocable Trust (WA)
15          46. Detlef and Marianne Schrempf (WA)
16          47. Gerlich Trust (WA)
17          48. Howe Family Revocable Trust (WA)
18          49. James Dubois (WA)
19          50. Jennifer Whitworth Trust (NV)
20          51. John Ahlers (WA)
21          52. John & Emily Breese (WA)
22          53. Jon Staenberg Trust (WA)
23          54. Kevin Fitzwilson (WA)
24          55. Norman and Carin Tonina Family Trust (WA)
25          56. Paul and Jennifer Biederman (AK)
26          57. Ricky Israel (WA)
27          58. robert fabrikant (DC)
28
     ASC CARKEEK PARK LLC'S CORPORATE                            Nossaman LLP
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 1          59. Sage Weil & Elise Lawson Trust (WI)
 2          60. Terese Clark (WA)
 3          61. Timothy and Teresa Gamble Revocable Trust (WA)
 4          62. Wesley and Barbara Moorhead (WA)
 5          63. Woods Family Revocable Trust (WA)
 6          64. Ann Stephens (CA)
 7          65. Brian and Linda Poggi, Trustees of the Brian and Linda Poggi Living Trust (OR)
 8          66. Dan Ware (OR)
 9          67. Kirk & Anh Lum (CA)
10          68. Kyle Kirkland Hinkley & Rebecca Bernice Hinkley (WA)
11          69. Larry E. & Paulette F. Walker (MD)
12          70. Myriad Capital Venture LLC (CA)
13          71. Sean Poggi (OR)
14          72. Strata Trust fbo Kevin Rougeux (CA)
15          73. Susan L. & Virgil R. McPherson (CA)
16          74. Thomas & Heather Laborde Living Trust (CA)
17          75. Nicholas and Erin Sponaugle (WA)
18          76. Andrew W Madderson (WA)
19          77. Amy and Adam Billdt (WA)
20          78. Marc & Holly Forsythe (CA)
21          79. Richard C. Deck (WA)
22          80. Roger Young (WA)
23          81. Michael Gottlieb (WA)
24          82. Kathy Jean Stewart (WA)
25          83. Kevin T Rougeux (CA)
26          84. Rick Karnofski (WA)
27          85. Sandra Preyale (WA)
28
     ASC CARKEEK PARK LLC'S CORPORATE                               Nossaman LLP
     DISCLOSURE STATEMENT - 4                               719 Second Avenue, Suite 1200
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 1             86. Connie L. Jones (WA)
 2             87. Kimberly Ann Thielman (WA)
 3             88. Walter Jossart (WA)
 4             89. Benjamin T Freeburg (WA)
 5          In addition, ASC Carkeek Park LLC is not a publicly held corporation and no publicly held
 6   corporation has an ownership interest of more than 10% in ASC Carkeek Park LLC.
 7
            Dated: May 4, 2022                          NOSSAMAN LLP
 8
 9                                                      BRIAN FERRASCI-O’MALLEY

10                                                     By: /s/ Brian Ferrasci-O’Malley
                                                       Brian Ferrasci-O’Malley, WSBA #46721
11                                                     719 Second Avenue, Suite 1200
                                                       Seattle, WA 98104
12                                                     Ph: 206.395.7630
13                                                     Email: bferrasciomalley@nossaman.com
                                                       Attorney for Plaintiff ASC Carkeek Park LLC
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      ASC CARKEEK PARK LLC'S CORPORATE                                  Nossaman LLP
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                                                                  Telephone: (206) 395-7630
                Case 2:22-cv-00553-LK Document 8 Filed 05/04/22 Page 6 of 6



 1                                    CERTIFICATE OF SERVICE
 2
            I hereby certify that on May 4, 2022, I electronically transmitted the attached document to
 3
     the Clerk of the Court using the ECF System for filing and transmittal of a Notice of Electronic
 4
     Filing to all ECF registrants.
 5
 6
                                                         /s/ Brian Ferrasci-O’Malley
 7                                                       Brian Ferrasci-O’Malley

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